      Case 1-19-42688-cec              Doc 125        Filed 04/17/20     Entered 04/17/20 17:34:40




Dahiya Law Offices, LLC
Karamvir Dahiya
Attorney for the Debtor
and Debtor in Possession

75 Maiden Lane Suite 506
New York NY 10038
(212) 766 8000

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
                                                            :
In re                                                       :
                                                            :
RENEE MASLIKHOV                                             :   Chapter 11
                                                            :
aka RENEE BUTLER                                            :   Case No. 19-42688 (CEC)
                                                            :
                   Debtor.                                  :
------------------------------------------------------------X

  NOTICE OF SETTLEMENT OF ORDER ALLOWING PARTIAL DISURSEMENT TO
   THE DEBTOR AND THE PAYMENT OF THE UNITED STATES TRUSTEE’S FEES


PLEASE TAKE NOTICE, that the attached Order ordering,


(1) payment of the estate owed U.S. Trustee’s fees;

(2), an immediate disbursement of $100,000 to the Debtor, Ms. Renee Maslikhov; and

directing Denrick Cooper, Esq. the Court appointed Escrowee to release payments to the foregoing

claimants and the amount listed thereto, granting related relief will be presented to The Honorable

Carla E. Craig, the Chief Judge, United States Bankruptcy Court, at the United States Courthouse,

271 Cadman Plaza East, Brooklyn, New York 11201 on April 24, 2020 at 2:00 PM for signature

and entry ("Settlement Date").

         PLEASE TAKE FURTHER NOTICE, that submission of proposed counter orders, or

objections, if any, to entry of the attached proposed order, must be in writing, must conform to

the Federal Rules of Bankruptcy Procedure and the Local Rules of the Bankruptcy Court for the

                                                           1
     Case 1-19-42688-cec        Doc 125     Filed 04/17/20     Entered 04/17/20 17:34:40




Eastern District of New York, must set forth the name of the objecting party, the basis for the

objection and the specific grounds therefore, and must be filed with the Bankruptcy Court, with a

courtesy copy to Chambers, no later than two (2) days prior to the Settlement Date. Any proposed

counter order or objection must further be served upon and received by the proposed attorneys for

the Debtor. Dahiya Law Offices, LLC Esq. Failure to timely file an objection or proposed counter

order shall result in the waiver of any such objection or proposed counter order.

       PLEASE TAKE FURTHER NOTICE, that if no proposed counter orders or objections are

received the order may be signed. In the event objections are interposed, a hearing may be

scheduled by the Court in its discretion.



Dated: New York NY
April 17, 2020
                                                                              /s/ Karamvir Dahiya
                                                                               karam@dahiya.law


Email Notices to:
U.S. Trustee Office, Lateef, Reema
Reema.Lateef@usdoj.gov

Brian G Hannon on behalf of Creditor Standard Oil Credit Holding
bhannon@norgaardfirm.com
Josh Russell on behalf of Creditor New York State Department of Taxation and Finance
josh.russell@tax.ny.gov
Josh Russell on behalf of Creditor New York State Department of Taxation and Finance
josh.russell@tax.ny.gov
Josh Russell on behalf of Creditor New York State Department of Taxation and Finance
josh.russell@tax.ny.gov
Denrick Cooper, the Escrow Agent and Real Estate Attorney
cooperlegal@aol.com




                                                2
      Case 1-19-42688-cec              Doc 125        Filed 04/17/20     Entered 04/17/20 17:34:40




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                       :
                                                            :
RENEE MASLIKHOV                                             :   Chapter 11
                                                            :
aka RENEE BUTLER                                            :   Case No. 19-42688 (CEC)
                                                            :
                   Debtor.                                  :
------------------------------------------------------------X

    NOTICE OF PROPOSED ORDER ALLOWING PARTIAL DISURSEMENT TO THE
      DEBTOR AND THE PAYMENT OF THE UNITED STATES TRUSTEE’S FEES

         Ms. Renee Maslikhov aka Renee Butler (the “Debtor”), having filed her Second

Amended Disclosure Statement and Second Amended Plan of Reorganization dated October 15,

2019 in the above-captioned chapter 11 case [ECF No. 63, 64]; and due notice having been

given under the circumstances; and a combined hearing on the approval of the Second Disclosure

Statement and confirmation of the Second Plan having been held on October 16, 2019 and that

the requirements for confirmation of the Plan set forth in 11 U.S.C. 1129(a) have been satisfied

at the Hearing and upon the record of the Hearing and the proceedings, the Court having entered

an order confirming the Second Disclosure Statement and Second Plan, entailing sale of the real

property, located at 328 Jefferson Avenue, Brooklyn New York (the “Real Property”); and the

the Court having found: (a) that the proposed sale of the Debtor’s Real Property under the Plan

is an arms-length transaction, noncollusive, fair and reasonable, and conducted openly and in

good faith in accordance), and is in the best interests of the Debtor, the estate and creditors; (b)

and thus Real Property having been sold for a sum of $1,850,000; and there being enough

surplus to pay off the creditors; and the Court having conducted a status conference on April 1,

2020 wherein the Debtor personally appearing and having requested an immediate payment of



                                                           3
     Case 1-19-42688-cec         Doc 125     Filed 04/17/20     Entered 04/17/20 17:34:40




$100,000, wherein the parties having heard all the parties, and based upon the filed claims in

this case, it is hereby:

        Ordered the escrow agent, Law Offices of Denrick Cooper shall mail payments to the

Debtor of a sum of $100,000 and sums owed to the United States trustee fees owed as of the

disbursement of this stated sum to the Debtor; it is further

        Ordered that Law Offices of Denrick Cooper shall notify the Court of such payments

having been made within 3 days of mailing of the payments.

        This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the interpretation and/or implementation of this Order.

Dated: April ___2020
Brooklyn New York

                                                                     _______________________
                                                                               Hon. Carla E. Craig
                                                      Chief Judge, United States Bankruptcy Court




                                                  4
      Case 1-19-42688-cec              Doc 125        Filed 04/17/20     Entered 04/17/20 17:34:40




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                       :
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RENEE MASLIKHOV                                             :   Chapter 11
                                                            :
aka RENEE BUTLER                                            :   Case No. 19-42688 (CEC)
                                                            :
                   Debtor.                                  :
------------------------------------------------------------X

 AFFIDAVIT OF SERVICE OF NOTICE OF SETTLEMENT OF ORDER ALLOWING
 PARTIAL DISURSEMENT TO THE DEBTOR AND THE PAYMENT OF THE UNITED
                       STATES TRUSTEE’S FEES

Karamvir Dahiya of Dahiya Law Offices, LLC, submit that on April 17, 2020, a copy of the
foregoing attached Notice and Proposed Order regarding payment to the Debtor and the U.S. Trustee
fees was emailed to the following recipient:

Email Notices to:
U.S. Trustee Office, Lateef, Reema
 Reema.Lateef@usdoj.gov
Brian G Hannon on behalf of Creditor Standard Oil Credit Holding
bhannon@norgaardfirm.com
Josh Russell on behalf of Creditor New York State Department of Taxation and Finance
josh.russell@tax.ny.gov
Josh Russell on behalf of Creditor New York State Department of Taxation and Finance
josh.russell@tax.ny.gov
Josh Russell on behalf of Creditor New York State Department of Taxation and Finance
josh.russell@tax.ny.gov
Denrick Cooper, the Escrow Agent and Real Estate Attorney
cooperlegal@aol.com Dated: New York NY

April 17, 2020
                                                                                     /s/ Karamvir Dahiya
                                                                                      karam@dahiya.law


                                                           5
